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 Proposed Co-Counsel for the Debtors and                    Proposed Co-Counsel for the Debtors and Debtors
 Debtors in Possession                                      in Possession

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                    )
     In re:                                                         )    Chapter 11
                                                                    )
     ZIPS CAR WASH, LLC, et al.,1                                   )    Case No. 25-80069 (MVL)
                                                                    )
                              Debtors.                              )    (Joint Administration Requested)
                                                                    )




 1
       The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
       numbers, are Zips Car Wash, LLC (3045); Express Car Wash Holdings, LLC (6223); Zips 2900 Wade Hampton,
       LLC (N/A); Zips 3107 N. Pleasantburg, LLC (N/A); Zips 6050 Wade Hampton, LLC (N/A); Zips Operating
       Holdings, LLC (2161); Zips Portfolio I, LLC (9999); Zips Portfolio II, LLC (1864); Zips Portfolio III, LLC (N/A)
       and Zips Portfolio IV, LLC (N/A). The location of Debtors’ principal place of business and the Debtors’ service
       address in these chapter 11 cases is 8400 Belleview Drive, Suite 210, Plano, Texas 75024.
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                         DEBTORS’ OMNIBUS MOTION FOR
                       ENTRY OF AN ORDER (I) AUTHORIZING
                THE REJECTION OF CERTAIN UNEXPIRED LEASES AND
              EXECUTORY CONTRACTS, (II) AUTHORIZING ABANDONMENT
              OF CERTAIN PERSONAL PROPERTY, EACH EFFECTIVE AS OF
              THE REJECTION DATE, AND (III) GRANTING RELATED RELIEF


         PARTIES RECEIVING THIS FIRST OMNIBUS REJECTION MOTION SHOULD
         LOCATE THEIR NAMES AND AGREEMENTS IN THE SCHEDULE
         ATTACHED AS EXHIBIT 1 TO EXHIBIT A TO THIS MOTION.

         IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
         WRITING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST
         FILE       YOUR      RESPONSE       ELECTRONICALLY         AT
         HTTPS://ECF.TXNB.USCOURTS.GOV/ NO MORE THAN TWENTY-FOUR (24)
         DAYS AFTER THE DATE THIS MOTION WAS FILED. IF YOU DO NOT HAVE
         ELECTRONIC FILING PRIVILEGES, YOU MUST FILE A WRITTEN
         OBJECTION THAT IS ACTUALLY RECEIVED BY THE CLERK AND FILED
         ON THE DOCKET NO MORE THAN TWENTY-FOUR (24) DAYS AFTER THE
         DATE THIS MOTION WAS FILED. OTHERWISE, THE COURT MAY TREAT
         THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

 as follows in support of this motion:2

                                                Relief Requested

         1.       By this Motion, the Debtors seek entry of an order, substantially in the form

 attached hereto as Exhibit A (the “Order”): (a) authorizing the rejection of certain unexpired leases

 (each, a “Lease,” and collectively, the “Leases”) for nonresidential real property located at the

 premises (collectively, the “Premises”) and certain executory contracts (each, a “Contract,” and

 collectively, the “Contracts,” and collectively with the Leases, the “Agreements”) all as set forth

 on Exhibit 1 to the Order; (b) authorizing the abandonment of certain equipment, fixtures,

 furniture, or other personal property (the “Personal Property”) that may be located at the Premises,


 2
     A detailed description of the Debtors and their business, including the facts and circumstances giving rise to the
     Debtors’ chapter 11 cases, is set forth in the Declaration of Kevin Nystrom, Chief Transformation Officer of Zips
     Car Wash, LLC, in Support of Chapter 11 Petitions and First Day Motions filed contemporaneously herewith
     (the “First Day Declaration”). Capitalized terms used but not defined herein shall have the meanings ascribed to
     such terms in the First Day Declaration.

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 each effective as of the later of (x) the rejection date listed on Exhibit 1 to the Order and (y) solely

 with respect to the Leases, the date the Debtors have surrendered the premises to the landlord via

 delivery of the keys, key codes, or alarm codes to the Premises, as applicable, to the applicable

 lease counterparty, or, if not delivering such keys or codes, providing notice that the landlord may

 re-let the Premises (the “Rejection Date”); and (c) granting related relief.

                                       Jurisdiction and Venue

        2.      The United States District Court for the Northern District of Texas has jurisdiction

 over this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States Bankruptcy

 Court for the Northern District of Texas (the “Court”) pursuant to 28 U.S.C. § 157 and the Order

 of Reference of Bankruptcy Cases and Proceedings Nunc Pro Tunc from the United States District

 Court for the Northern District of Texas dated August 3, 1984. This matter is a core proceeding

 within the meaning of 28 U.S.C. § 157(b)(2).

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are sections 105(a), 365(a), and 554(a) of

 title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rules 2002,

 6004, 6006, and 6007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 and rules 2002-1 and 9013-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court

 for the Northern District of Texas (the “Local Rules”).

        5.      The Debtors confirm their consent to the entry of a final order by the Court in

 connection with the motion in the event that it is later determined that the Court, absent consent of

 the parties, cannot enter final orders or judgments in connection herewith consistent with

 Article III of the United States Constitution.




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                                            Background

         6.     The Debtors are one of the largest privately owned express car wash operators in

 the U.S. Founded in 2004 with just two locations in rural Arkansas, the Debtors have grown

 through a series of strategic acquisitions to more than 260 locations across 23 states.

 Headquartered in Plano, Texas, the Debtors operate through their Zips, Jet Brite, and Rocket

 Express brands and serve their customers through two core revenue channels: a traditional

 pay-per-wash format and Zips Unlimited, the Debtors’ flagship monthly subscription program

 with over 600,000 members.

         7.     On February 5, 2025 (the “Petition Date”), each Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses

 and managing their property as debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. Concurrent with the filing of this motion, the Debtors filed a motion requesting

 procedural consolidation and joint administration of these chapter 11 cases pursuant to Bankruptcy

 Rule 1015(b) and Local Rule 1015-1. No request for the appointment of a trustee or examiner has

 been made in these chapter 11 cases, and no official committees have been appointed or

 designated.

                                  The Debtors’ Unexpired Leases

         8.     As set forth in more detail in the First Day Declaration, the Debtors’ businesses

 have been acutely impacted by a confluence of financial and operational headwinds, including

 record level rises in interest rates and inflation as well as industry competition. These challenges

 have accelerated the need for Zips to reassess its go-forward business model. In particular,

 the Company’s real estate portfolio remains burdened by sites with off-market lease terms or

 faltering financial performance, requiring the Company to either restructure the leases or exit sites

 entirely.

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         9.       In the months preceding the filing of these cases, the Company, with the assistance

 of its advisors, developed a revised business plan strategy focused on: (a) right-sizing the site

 portfolio to ensure unprofitable locations close and/or benefit from restructured lease obligations;

 (b) improving performance in markets with high density to maintain competitive advantage over

 other operators; and (c) enhancing the operating model to drive cost efficiencies and customer

 engagement. As part of this strategy, the Company, with the assistance of AlixPartners and Hilco,

 completed a lease rationalization analysis and business plan that projected the performance of each

 car wash site. The Company’s footprint assessment identified (a) a series of sites for immediate

 closure and (b) certain sites with off-market lease terms. And in the two months leading up to the

 Petition Date, Hilco commenced outreach to the Company’s landlords to initiate discussions

 around a renegotiation of leases. Those discussions remain ongoing.

         10.      After carefully examining their lease portfolio, the Debtors determined that certain

 locations do not have a place in the Debtors’ go-forward business plan. Accordingly, the Debtors

 file this motion seeking authority to reject the Leases listed on Exhibit 1 to the Order as of the

 applicable Rejection Date. 3 For certain of these sites, the Debtors have vacated or are in the

 process of shutting down operations at the Premises in the immediate near-term. For many others,

 the Company remains hopeful that these locations will still have a place in the Zips portfolio post

 emergence.       It is, however, untenable to retain these locations in their current form.

 Overburdensome occupancy costs have significantly impaired four-wall profitability. Absent

 relief from the Company’s landlord counterparties, the Company will be forced to close operations

 at these locations.




 3
     The Debtors reserve the right to remove any Agreement from Exhibit 1 to the Order at any time prior to the
     hearing at which this motion is heard.

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        11.     Any lease with a Rejection Date as of the Petition Date relates to a location at which

 the Debtors are no longer conducting business as of the Petition Date. The Debtors have vacated

 the Premises, removed all of the personal property that they intend to remove, notified lessors of

 personal property at the Premises covered by the Lease to retrieve their leased personal property,

 and delivered possession of the Premises to the landlord. Accordingly, the Debtors no longer have

 possession of this Premises and disclaim any interest they may have in the personal property at the

 location. Absent rejection, the Debtors would be obligated to pay rent even though they have

 ceased operations and derive no benefit from continued possession and occupancy of the Premises.

        12.     The remaining Leases with Rejection Dates after the Petition Date relate to

 financially burdensome locations where the Debtors are in the process of shutting down operations

 and vacating the corresponding Premises but continue to occupy the Premises as of the Petition

 Date. Absent constructive discussions with landlord counterparties, no later than the applicable

 proposed Rejection Date, the Debtors will have vacated the corresponding Premises, removed all

 of the personal property that they intend to remove, notified lessors of personal property at these

 Premises to retrieve their leased personal property, and delivered possession of the corresponding

 Premises to the respective landlords.

        13.     The Debtors have determined in their business judgment that the costs associated

 with the Leases constitute a wasteful drain of estate assets. Additionally, the Debtors have

 similarly determined that the carrying costs of the Leases exceed any marginal benefits that could

 potentially be achieved from assignments or subleases thereof. Accordingly, by this motion, the

 Debtors seek to reject the Leases set forth on Exhibit 1 to the Order attached hereto effective as of

 the applicable Rejection Date, but reserve all rights to remove any Leases from Exhibit 1 to the

 Order in advance of any hearing on rejection of such Leases.



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                                Personal Property to Be Abandoned

        14.     The Debtors also evaluated the Personal Property located at the Premises and

 determined that (a) the Personal Property is of inconsequential value or (b) the cost of removing

 and storing the Personal Property for future use, marketing, or sale exceeds its value to the Debtors’

 estates, especially if postpetition rent with respect to such location would need to be paid. Further,

 the Debtors’ use of much of the Personal Property was for location-specific purposes. Since the

 Debtors have ceased or plan to cease operations at the Premises, the Personal Property is no longer

 necessary for the administration of the Debtors’ estates. The Personal Property generally includes

 items such as office furniture, janitorial supplies, fixtures, office supplies, cleaning agents

 belonging to certain of the Debtors’ vendors, and signage. Where possible, the Debtors have

 removed valuable Personal Property that can be utilized at other locations or potentially sold.

        15.     Accordingly, to reduce postpetition administrative costs and in the exercise of the

 Debtors’ sound business judgment, the Debtors’ abandonment of the Personal Property is

 appropriate and in the best interests of the Debtors, their estates, and their creditors.

                                      Contracts to Be Rejected

        16.     After carefully examining their Contract portfolio, the Debtors determined that

 their restructuring efforts would be best served by the rejection of the Contracts listed on Exhibit 1

 to the Order. The Contracts to be rejected are for goods or services that are no longer required by

 the Debtors to operate their businesses, provide no benefit to the Debtors’ estates or these chapter

 11 cases, or have unfavorable terms with associated costs. Absent rejection, the Debtors may be

 obligated to pay postpetition charges under Contracts that they are no longer utilizing. The Debtors

 have determined in their business judgement that such charges constitute a wasteful drain of estate

 assets. Additionally, the Debtors have similarly determined that the carrying costs of the Contracts



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 exceed any marginal benefits that could potentially be achieved from assignments thereof.

 Accordingly, by this motion, the Debtors seek to reject the Contracts set forth on Exhibit 1 to the

 Order attached hereto effective as of the applicable Rejection Date.

                                     Basis for Requested Relief

 I.     The Rejection of the Agreements is in the Best Interest of the Debtors’ Estates.

        17.     Section 365(a) of the Bankruptcy Code provides that a debtor in possession

 “may assume or reject any executory contract or unexpired lease of the debtor” subject to the

 court’s approval. 11 U.S.C. § 365(a). Courts generally authorize debtors to assume or reject

 executory contracts and unexpired leases where the debtors appropriately exercise their “business

 judgment.” See, e.g., In re Senior Care Ctrs., LLC, 607 B.R. 580, 587 (Bankr. N.D. Tex. 2019)

 (“A court evaluates whether a lease should be assumed or rejected employing the business

 judgment standard.”); In re TM Vill., Ltd., No. 18-32770, 2019 WL 1004571, at *10 (Bankr. N.D.

 Tex. Feb. 28, 2019) (“A debtor must ‘satisfy [his] fiduciary duty to ... creditors and equity holders,

 [by articulating some] business justification for using, selling, or leasing the property outside the

 ordinary course of business.’”) (citation omitted); In re TransAmerican Nat’l Gas Corp.,

 79 B.R. 663, 667 (Bankr. S.D. Tex. 1987); see also Richmond Leasing Co. v. Cap. Bank, N.A.,

 762 F.2d 1303, 1309 (5th Cir. 1985) (stating that “[i]t is well established that ‘the question whether

 a lease should be rejected… is one of business judgment’”) (citation omitted).

        18.     The Agreements are not a source of potential value for the Debtors’ estates or

 stakeholders. The Agreements are no longer being used by the Debtors or provide no benefit to

 the Debtors’ estates or these chapter 11 cases. The Debtors have determined in their business

 judgment that continued payments in respect of the Agreements would unnecessarily drain estate

 assets and that the carrying costs of the Agreements exceed any marginal benefits that could

 potentially be achieved from assignments thereof. The Debtors’ determination to reject the

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 Agreements effective as of the Rejection Date reflects an exercise of sound business judgment and

 should be approved accordingly.

 II.     Retroactive Effective Relief May Be Sought Where Appropriate.

         19.     Section 365 of the Bankruptcy Code does not specifically address whether courts

 may order rejection to be effective retroactively. However, courts have held that bankruptcy courts

 may retroactively reject executory contracts and unexpired leases based on a “balancing of the

 equities” standard. See, e.g., In re Linn Energy, LLC, No. 16-60040 (DRJ) (Bankr. S.D. Tex.

 Nov. 7, 2016) (approving procedures to reject or assume executory contracts and unexpired

 leases); In re Sherwin Alumina Co., LLC, No. 16-20012 (DRJ) (Bankr. S.D. Tex. Aug. 24, 2016)

 (same); In re Cafeteria Operators, L.P., 299 B.R. 384, 394 (Bankr. N.D. Tex. 2003) (granting

 retroactive relief for contract rejection where debtors were “receiving no benefit” from the lease

 and the contract counterparties “had unequivocal notice of Debtors’ intent to reject prior to the

 filing of the Motions”); In re O’Neil Theatres, Inc., 257 B.R. 806, 808 (Bankr. E.D. La. 2000)

 (granting retroactive relief based on the circumstances of the case); In re Amber’s Stores, Inc., 193

 B.R. 819, 827 (Bankr. N.D. Tex. 1996) (finding that “nothing precludes a bankruptcy court, based

 on the equities of the case, from approving” retroactive rejection); Constant Ltd. P’ship v.

 Jamesway Corp. (In re Jamesway Corp.), 179 B.R. 33, 37 (S.D.N.Y. 1995) (stating that section

 365 of the Bankruptcy Code does not include “restrictions as to the manner in which the court can

 approve rejection”); see also In re Joseph C. Spiess Co., 145 B.R. 597, 606 (Bankr. N.D. Ill. 1992)

 (“[A] trustee’s rejection of a lease should be retroactive to the date that the trustee takes affirmative

 steps to reject said lease.”).

         20.     Here, the balance of equities favors rejection of the Agreements effective as of each

 applicable Rejection Date. For certain Agreements, without a retroactive date of rejection, the

 Debtors could be forced to incur unnecessary administrative expenses related to such Agreements

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 that provide no benefit to the Debtors’ estates. See 11 U.S.C. § 365(d)(3). The counterparties,

 however, will not be unduly prejudiced if the rejection is deemed effective as of the Rejection Date.

 Contemporaneously with the filing of this motion, the Debtors will cause notice of this motion to

 be served on the applicable landlords and contract counterparties, thereby allowing each party an

 opportunity to respond accordingly. The Debtors have sought the relief requested at the earliest

 possible moment in these chapter 11 cases and do not seek to reject the Agreements effective as

 of the Rejection Date due to any undue delay on their own part.

         21.    Accordingly, the Debtors respectfully submit that the Court should deem the

 Agreements identified on Exhibit 1 annexed to the Order rejected effective as of the Rejection

 Date.

 III.    Abandonment of Personal Property is in the Best Interest of the Debtors’ Estates.

         22.    Further, the abandonment of the Personal Property is appropriate and authorized by

 the Bankruptcy Code. See 11 U.S.C. § 554(a). Section 554(a) of the Bankruptcy Code provides

 that “[a]fter notice and a hearing, the trustee may abandon any property of the estate that is

 burdensome to the estate or that is of inconsequential value and benefit to the estate.” Id. Courts

 generally give a debtor in possession great deference to its decision to abandon property. See, e.g.,

 In re Vel Rey Props., Inc., 174 B.R. 859, 867 (Bankr. D.D.C. 1994) (“Clearly, the court should

 give deference to the trustee’s judgment in such matters.”). Unless certain property is harmful to

 the public, once a debtor has shown that it is burdensome or of inconsequential value to the estate,

 a court should approve the abandonment. Id.

         23.    The Debtors have determined that the costs of moving and storing the Personal

 Property would outweigh any benefit to the Debtors’ estates. Further, any efforts by the Debtors

 to move or market the Personal Property could unnecessarily delay the Debtors’ surrender of the



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 Premises and the rejection of the Leases, thus potentially adding postpetition rent to the

 cost-benefit calculation. Accordingly, it is in the best interests of the Debtors and their estates for

 the Debtors to abandon the Personal Property located on the Premises.

                         Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        24.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

 requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay of an order authorizing the

 use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                        Reservation of Rights

        25.     Nothing contained in this motion or any order granting the relief requested in this

 motion, and no action taken by the Debtors pursuant to the relief requested or granted (including

 any payment made in accordance with any such order), is intended as or shall be construed or

 deemed to be: (a) an admission as to the amount of, basis for, priority, or validity of any claim

 against the Debtors under the Bankruptcy Code or other applicable nonbankruptcy law;

 (b) a waiver of the Debtors’ or any other party in interest’s rights to dispute any claim on any

 grounds; (c) a promise or requirement to pay any particular claim; (d) an implication, admission,

 or finding that any particular claim is an administrative expense claim, other priority claim or

 otherwise of a type specified or defined in this motion or any order granting the relief requested

 by this motion; (e) a request or authorization to assume, adopt, or reject any agreement, contract,

 or lease pursuant to section 365 of the Bankruptcy Code other than the rejection of the Agreements;

 (f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

 interest in, or other encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation

 of any claims, causes of action, or other rights of the Debtors or any other party in interest against

 any person or entity under the Bankruptcy Code or any other applicable law.



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                                                Notice

        26.     The Debtors will provide notice of this motion to the following parties or their

 respective counsel: (a) the Office of the United States Trustee for the Northern District of Texas;

 (b) the holders of the thirty largest unsecured claims against the Debtors (on a consolidated basis);

 (c) the office of the attorney general for each of the states in which the Debtors operate; (d) the

 United States Attorney’s Office for the Northern District of Texas; (e) the Internal Revenue

 Service; (f) the counterparties to the Agreements; (g) counsel to the Ad Hoc Term Lender Group;

 (h) the agents for certain prepetition and postpetition lenders of the Debtors; and (i) any party that

 has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief

 requested, no other or further notice need be given.

                             [Remainder of page intentionally left blank]




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          WHEREFORE, the Debtors respectfully request entry of the Order, substantially in the

 form attached hereto as Exhibit A, (a) granting the relief requested herein and (b) granting such

 other relief as the Court deems appropriate under the circumstances.

 Dated: February 6, 2025
 Dallas, Texas

 /s/ Jason S. Brookner
 GRAY REED                                        KIRKLAND & ELLIS LLP
 Jason S. Brookner (TX Bar No. 24033684)          KIRKLAND & ELLIS INTERNATIONAL LLP
 Aaron M. Kaufman (TX Bar No. 24060067)           Joshua A. Sussberg, P.C. (pro hac vice pending)
 Amber M. Carson (TX Bar No. 24075610)            Ross J. Fiedler (pro hac vice pending)
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                akaufman@grayreed.com                           ross.fiedler@kirkland.com
                acarson@grayreed.com
                                                  -and-

                                                  Lindsey Blumenthal (pro hac vice pending)
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                                                  Chicago, Illinois 60654
                                                  Telephone: (312) 862-2000
                                                  Facsimile     (312) 862-2200
                                                  Email         lindsey.blumenthal@kirkland.com

 Proposed Co-Counsel for the Debtors              Proposed Co-Counsel for the Debtors
 and Debtors in Possession                        and Debtors in Possession




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                                      Certificate of Service

         I certify that on February 6, 2025, I caused a copy of the foregoing document to be served
 by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
 District of Texas.

                                                  /s/ Jason S. Brookner
                                                  Jason S. Brookner
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                                    Exhibit A

                                 Proposed Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                      )
     In re:                                                           )     Chapter 11
                                                                      )
     ZIPS CAR WASH, LLC, et al.,1                                     )     Case No. 25-80069 (MVL)
                                                                      )
                              Debtors.                                )     (Joint Administration Requested)
                                                                      )
                                                                      )     Re: Docket No. __

                             ORDER (I) AUTHORIZING
                          THE REJECTION OF CERTAIN
                       UNEXPIRED LEASES AND EXECUTORY
                 CONTRACTS, (II) AUTHORIZING THE ABANDONMENT
                OF CERTAIN PERSONAL PROPERTY, EACH EFFECTIVE
          AS OF THE REJECTION DATE, AND (III) GRANTING RELATED RELIEF

              Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing the rejection of


 1
       The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
       numbers, are Zips Car Wash, LLC (3045); Express Car Wash Holdings, LLC (6223); Zips 2900 Wade Hampton,
       LLC (N/A); Zips 3107 N. Pleasantburg, LLC (N/A); Zips 6050 Wade Hampton, LLC (N/A); Zips Operating
       Holdings, LLC (2161); Zips Portfolio I, LLC (9999); Zips Portfolio II, LLC (1864); Zips Portfolio III, LLC (N/A)
       and Zips Portfolio IV, LLC (N/A). The location of Debtors’ principal place of business and the Debtors’ service
       address in these chapter 11 cases is 8400 Belleview Drive, Suite 210, Plano, Texas 75024.
 2
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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 (i) certain unexpired leases (each, a “Lease,” and collectively, the “Leases”) for nonresidential real

 property located at the premises (collectively, the “Premises”) set forth on Exhibit 1 attached

 hereto and (ii) certain executory contracts (each, a “Contract,” and collectively, the “Contracts,”

 and together with the Leases, the “Agreements”) set forth on Exhibit 1 attached hereto,

 (b) authorizing the abandonment of certain equipment, fixtures, furniture, or other personal

 property (the “Personal Property”) that may be located at the Premises, each effective as of the

 Rejection Date; and (c) granting related relief, all as more fully set forth in the Motion; and upon

 the First Day Declaration; and the United States District Court for the Northern District of Texas

 having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred to this Court

 under 28 U.S.C. § 157; and this Court having found that this is a core proceeding pursuant to

 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final order

 consistent with Article III of the United States Constitution; and this Court having found that venue

 of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 and this Court having found that the relief requested in the Motion is in the best interests of the

 Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

 Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate and

 no other notice need be provided; and this Court having reviewed the Motion and having heard the

 statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

 and this Court having determined that the legal and factual bases set forth in the Motion and at the

 Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

 before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

 ORDERED THAT:

        1.      The Motion is granted as set forth herein.



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        2.      Each Lease and Contract set forth on Exhibit 1 attached hereto is rejected effective

 as of the Rejection Date.

        3.      The Debtors are authorized to abandon any Personal Property of their bankruptcy

 estates that may be located at the Premises, and all such property is deemed abandoned, effective

 as of the Rejection Date. The applicable counterparty to each Lease may effectuate its rights and

 remedies with respect to such property. The automatic stay, to the extent applicable, is modified

 to allow for such utilization or disposition.

        4.      Claims arising out of the rejection of the Agreements, if any, must be filed on or

 before the later of (a) the deadline for filing proofs of claim established in these chapter 11 cases

 and (b) thirty (30) days after the date of entry of this Order.

        5.      Nothing in this Order authorizes the Debtors to lease, sell, or otherwise transfer to

 any other party, the personal identifying information (which means information which alone or in

 conjunction with other information identifies an individual, including but not limited to an

 individual’s first name (or initial) and last name, physical address, electronic address, telephone

 number, Social Security number, date of birth, government-issued identification number, account

 number and credit or debit card number) of any customers unless such sale or transfer or lease is

 permitted by the Debtors’ privacy policy and state or federal privacy and/or identity theft

 prevention laws and rules.

        6.      Approval of this Order will not prevent the Debtors from seeking to assume or

 reject an executory contract and/or unexpired lease other than the Agreements by separate motion

 or pursuant to a chapter 11 plan.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.



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         8.      All rights and defenses of the Debtors are preserved, including all rights and

 defenses of the Debtors with respect to a claim for damages arising as a result of a Contract or

 Lease rejection, including any right to assert an offset, recoupment, counterclaim, or deduction.

         9.      Nothing contained in the Motion or this Order, and no action taken pursuant to the

 relief requested or granted (including any payment made in accordance with this Order), is

 intended as or shall be construed or deemed to be: (a) an admission as to the amount, validity or

 priority of, or basis for any claim against the Debtors under the Bankruptcy Code or other

 applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

 dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

 implication, admission or finding that any particular claim is an administrative expense claim,

 other priority claim or otherwise of a type specified or defined in the Motion or this Order; (e) a

 request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

 section 365 of the Bankruptcy Code other than the rejection of the Agreements; (f) an admission

 as to the validity, priority, enforceability or perfection of any lien on, security interest in, or other

 encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes

 of action or other rights of the Debtors or any other party in interest against any person or entity

 under the Bankruptcy Code or any other applicable law.

         10.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

 by such notice.

         11.     Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

 this Order are immediately effective and enforceable upon its entry.




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        12.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order in accordance with the Motion.

        13.      This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation, interpretation, and enforcement of this Order.

                                    # # # END OF ORDER # # #




 Submitted by:
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 Proposed Co-Counsel for the Debtors                   Proposed Co-Counsel for the Debtors
 and Debtors in Possession                             and Debtors in Possession




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                                                              Exhibit 1

                                                        Rejected Agreements1

#      Counterparty Name             Debtor              Description of Agreement            Site ID(s) (Leases Only)      Rejection
                                   Counterparty                                                                              Date

1    Learfield Sports, LLC       Zips Car Wash,       Marketing and Sponsorship                                            2/5/2025
                                 LLC                  Agreement Dated July 1, 2022

2    Learfield Sports, LLC       Zips Car Wash,       Amendment to Marketing and                                           2/5/2025
                                 LLC                  Sponsorship Agreement Dated
                                                      July 1, 2022
3    FSC ZCW Lynchburg           Zips Car Wash,       Deed of Lease dated November       0600 - VALYN_Wards                3/31/2025
     VA, LLC                     LLC                  15, 2018

4    Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            222 - ARLIT_Bowman                3/31/2025
                                 LLC                  Agreement dated October 22,
                                                      2019
5    Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            0901 - OHSPR_Princeton            3/31/2025
                                 LLC                  Agreement dated September 11,
                                                      2020
6    Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            0903 - OHHAM_DixieHwy             3/31/2025
                                 LLC                  Agreement dated December 11,
                                                      2020
7    Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            0307 - KYLOU_Breckenridge         3/31/2025
                                 LLC                  Agreement dated February 26,
                                                      2021
8    Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            0301 - KYOWE_Wimsatt              3/31/2025
                                 LLC                  Agreement dated July 19, 2019

9    Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            0305 - KYBOW_Campbell             3/31/2025
                                 LLC                  Agreement dated February 14,
                                                      2020
10   Getty Leasing, Inc.         Zips Car Wash,       Land and Building Lease            0900 - OHCIN_Colerain             3/31/2025
                                 LLC                  Agreement dated June 12, 2020

11   Car W, LLC                  Zips Car Wash,       Lease Agreement dated              842 - FLPEN_Michigan              3/31/2025
                                 LLC                  December 13, 2018

12   Velvet Malva, LLC           Zips Car Wash,       Lease Agreement dated August       0402 - MOSTL_Watson               2/28/2025
                                 LLC                  21, 2018

13   Cyark Siloam LLC            Zips Car Wash,       Lease Agreement dated May 25,      206 - ARSPR_W.Sunset              3/31/2025
                                 LLC                  2021




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               For the avoidance of doubt, the Leases referenced herein include any amendments or modifications thereto.
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#      Counterparty Name          Debtor          Description of Agreement           Site ID(s) (Leases Only)   Rejection
                                Counterparty                                                                      Date

14   Fowler Property           Zips Car Wash,   Amended and Restated Lease        701 - KSWIC_37th              3/31/2025
     Investments, LP           LLC              Agreement dated November 8,
                                                2023
15   JB5117 Poplar, LLC        Zips Car Wash,   Lease Agreement dated             105 - TNMEM_Poplar            3/31/2025
                               LLC              December 23, 2015

16   Loehr Investments, Inc    Zips Car Wash,   Lease Agreement dated October     0407 - MOELL_Manchester       2/28/2025
                               LLC              14, 2015

17   Medical Realty Company,   Zips Car Wash,   Lease Agreement dated April 13,   621 -                         3/31/2025
     LLC                       LLC              2018                              TXSAN_N.Fredericksburg

18   Mohamed Merabet and       Zips Car Wash,   Amended and Restated Master       802 - FLMIA_27th              3/31/2025
     Yamina Sebbah             LLC              Lease Agreement dated April 28,
                                                2023
19   NADG NNN ZCW (OK)         Zips Car Wash,   Lease Agreement dated March 2,    324 - OKGLE_141st             3/31/2025
     LLP                       LLC              2018

20   NM Zips LLC               Zips Car Wash,   Land and Building Lease           843 - FLPEN_N.DavisHwy        3/31/2025
                               LLC              Agreement dated December 30,
                                                2020
21   NM West Sunset, LLC       Zips Car Wash,   Lease Agreement dated May 3,      208 - ARSPR_E.Sunset          2/5/2025
                               LLC              2018

22   Post Corporation          Zips Car Wash    Land and Building Lease           0500 - ILEDW_Troy             2/28/2025
                               LLC              Agreement dated October 29,
                                                2019
23   Primax Properties, LLC    Zips Car Wash    Land and Building Lease           956 - NCMAT_E.Independence    3/31/2025
                                                Agreement dated May 2, 2019

24   Nightingale Pineville     Zips Car Wash,   Amended and Restated Lease        957 - NCPIN_Towne             3/31/2025
     LLC                       LLC              Agreement dated May 2, 2019

25   ZRE PENSACOLA, LLC        Zips Car Wash,   Lease Agreement dated             844 - FLPEN_9th               3/31/2025
                               LLC              November 25, 2019

26   Zips Conway, LLC          Zips Car Wash,   Lease Agreement dated             224 - ARCON_Oak               3/31/2025
                               LLC              December 29, 2016

27   Zips Jett 2, LLC          Zips Car Wash,   Lease Agreement dated January     644 - TXFOR_Denton            3/31/2025
                               LLC              9, 2018




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#      Counterparty Name         Debtor          Description of Agreement         Site ID(s) (Leases Only)   Rejection
                               Counterparty                                                                    Date

28   Zips Patterson Street,   Zips Car Wash,   Lease Agreement dated May 2,    954 - NCGRE_Patterson         3/31/2025
     LLC                      LLC              2019

29   Broadstone ZCW           Zips Car Wash,   Master Lease Agreement dated    602 - TXTEX_Stateline         3/31/2025
     Portfolio, LLC           LLC              July 17, 2018

30   Broadstone ZCW           Zips Car Wash,   Master Lease Agreement dated    703 - KSWIC_Maple             3/31/2025
     Portfolio, LLC           LLC              July 17, 2018

31   Broadstone ZCW           Zips Car Wash,   Master Lease Agreement dated    705 - KSWIC_S.Maize           3/31/2025
     Portfolio, LLC           LLC              July 17, 2018

32   Broadstone ZCW           Zips Car Wash,   Master Lease Agreement dated    841 - FLPAC_Woodbine          3/31/2025
     Portfolio, LLC           LLC              July 17, 2018

33   SCF RC Funding IV        Zips Car Wash,   Third Amended and Restated      404 - LASHR_Youree            3/31/2025
                              LLC              Master Lease Agreement dated
                                               September 29, 2017
34   SCF RC Funding IV        Zips Car Wash,   Third Amended and Restated      226 - ARBRY_N.Reynolds        3/31/2025
                              LLC              Master Lease Agreement dated
                                               September 29, 2017
35   SCF RC Funding IV        Zips Car Wash,   Third Amended and Restated      0100 - SCAND_Clemson          3/31/2025
                              LLC              Master Lease Agreement dated
                                               September 29, 2017
36   Broadstone ZCW           Zips Car Wash,   Amended and Restated Master     0323 - KYLEX_NewCircle        3/31/2025
     Portfolio                LLC              Lease Agreement dated October
                                               24, 2023
37   Broadstone ZCW           Zips Car Wash,   Master Lease Agreement dated    702 - KSWIC_Webb              3/31/2025
     Portfolio                LLC              December 27, 2017

38   Broadstone ZCW           Zips Car Wash,   Master Lease Agreement dated    840 - FLMIL_Hwy90             3/31/2025
     Portfolio                LLC              December 27, 2017

39   Exp Wash re Portfolio    Zips Car Wash,   Second Amended and Restated     225 - ARLIT_RodneyParham      3/31/2025
     Owner I, LLC             LLC              Master Lease Agreement dated
                                               September 29, 2017
40   Exp Wash re Portfolio    Zips Car Wash,   Second Amended and Restated     0200 - GACOR_FinisSprings     3/31/2025
     Owner I, LLC             LLC              Master Lease Agreement dated
                                               September 29, 2017
41   Exp Wash re Portfolio    Zips Car Wash,   Second Amended and Restated     0103 - SCSEN_Jennings         3/31/2025
     Owner I, LLC             LLC              Master Lease Agreement dated
                                               September 29, 2017




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